            Case 1:16-cv-01003-GHW Document 6 Filed 02/10/16 Page 1 of 2

                                                                               USDC SDNY
                                                                               DOCUMENT
UNITED STATES DISTRICT COURT                                                   ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                                  DOC #: _________________
 ---------------------------------------------------------------- X            DATE FILED: 02/10/2016
                                                                  :
 DOMINICK PORCO, individually and derivatively :
 on behalf of MOVV, LLC,                                          :
                                                                  :   1:16-cv-1003-GHW
                                                 Plaintiff,       :
                                                                  :   ORDER TO SHOW
                              -against-                           :       CAUSE
                                                                  :
 CHRISTOPHER ALSTON and MOVV, LLC,                                :
                                                                  :
                                                 Defendants. :
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GREGORY H. WOODS, District Judge:

         On January 11, 2016, plaintiff commenced this action against the above-captioned

defendants in the Supreme Court of the State of New York. On February 9, 2016, defendants filed

a notice of removal to the United States District Court for the Southern District of New York. As

the basis for this Court’s subject matter jurisdiction, defendants invoke 28 U.S.C. § 1332, asserting

that the parties are diverse and the amount in controversy is over $75,000. Dkt. No. 1, ¶¶ 9-15. To

establish jurisdiction under 28 U.S.C. § 1332, there must be complete diversity of citizenship, such

that “each defendant is a citizen of a different State from each plaintiff.” Owen Equip. & Erection Co. v.

Kroger, 437 U.S. 365, 373 (1978) (emphasis in original). Defendants, as the party invoking diversity

jurisdiction, “must allege in [their] pleading the facts essential to show jurisdiction.” McNutt v. Gen.

Motors Acceptance Corp. of Indiana, 298 U.S. 178, 189 (1936); see also Hertz Corp. v. Friend, 559 U.S. 77,

96 (2010) (“The burden of persuasion for establishing diversity jurisdiction, of course, remains on

the party asserting it.”).

         MOVV, LLC is a limited liability company. When determining a party’s citizenship for

diversity purposes, a limited liability company “takes the citizenship of each of its members.”

Bayerische Landesbank v. Aladdin Capital Mgmt. LLC, 692 F.3d 42, 49 (2d Cir. 2012). Defendants fail
          Case 1:16-cv-01003-GHW Document 6 Filed 02/10/16 Page 2 of 2



properly to allege the citizenship of the members of MOVV, LLC. Moreover, the complaint alleges

that plaintiff Dominick Porco is a resident of New York and a member of MOVV, LLC.

Dkt. No. 1, Ex. 2, ¶¶ 4-5. And while defendants’ removal notice identifies defendant Christopher

Alston as a citizen of the Commonwealth of Virginia, Dkt. No. 1, ¶ 10, the complaint alleges that he

resides in New York, Dkt. No. 1, Ex. 2, ¶ 5. Thus, the Court cannot determine whether complete

diversity exists, and without complete diversity, the Court does not have subject matter jurisdiction

over this case.

        “If subject matter jurisdiction is lacking . . . , the court has the duty to dismiss the action sua

sponte.” Durant, Nichols, Houston, Hodgson & Cortese-Costa P.C. v. Dupont, 565 F.3d 56, 62 (2d Cir.

2009); see also Fed. R. Civ. P. 12(h)(3) (“If the court determines at any time that it lacks subject-

matter jurisdiction, the court must dismiss the action.”). Accordingly, defendant is hereby

ORDERED TO SHOW CAUSE by February 24, 2016 as to why this action should not be

dismissed for lack of subject matter jurisdiction, and remanded to state court.



        SO ORDERED.


 Dated: February 10, 2016                              _____________________________________
 New York, New York                                             GREGORY H. WOODS
                                                               United States District Judge




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